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                     IN THE UNITED STATES DISTRICT COURT                    FLED
                    FOR THE SOUTHERN DISTRICT OF GEORGIA                      ~fj '. C(7LR f
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                              BRUNSWICK DIVISION

                                                                     2005 NOV - P 3= 4 8

UNITED STATES OF AMERICA                    ) G!-_E'` .

                                                      CASE NO . : CR205-3 4
             V.


MOHAMMED SHAUKAT JAMAL
ASHISKUMAR G . PATEL
HERMANT K . PATEL
YOGESHUMAR PATEL
SANJAYKUMAR A . PATEL



                                       ORDER

      Defendant Sanjaykumar A . Patel ("Patel") has filed an appeal of the October 28 ,

2005 Order of the Magistrate Judge . Following in camera review of transcripts of

translations of conversations between a confidential source and other individuals, the

Magistrate Judge ordered that the transcript be filed under seal and determined that the

Government had no obligation to provide copies to counsel for Defendant Patel . Having

read and considered Defendant Patel's Appeal, the Court finds that the Magistrate Judge's

Order is neither clearly erroneous nor contrary to law . Thus Defendant Patel's Appeal is

DENIED .

      SO ORDERED , this day of 2005 .




                                        JUDGE ,-UNITED .STATES DISIRICICOURT
                                        SOUTHERN DISTRICT OF GEORGIA
